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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


ALLON YARONI, Individually and On          Case No.
Behalf of All Others Similarly Situated,

                             Plaintiff,    CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
            v.                             SECURITIES LAWS
PINTEC TECHNOLOGY HOLDINGS
LIMITED, WEI WEI, STEVEN YUAN
NING SIM, JUN DONG, JING ZHOU,             JURY TRIAL DEMANDED
XIAOMEI PENG, CHAO ZHOU, FENG
HONG, JIACHENG LIU, GOLDMAN
SACHS (ASIA) L.L.C., DEUTSCHE
BANK SECURITIES INC., and
CITIGROUP GLOBAL MARKETS INC.,

                             Defendants.
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       Plaintiff Allon Yaroni (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Pintec

Technology Holdings Limited (“Pintec” or the “Company”) with the United States (“U.S.”)

Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and media

reports issued by and disseminated by Pintec; and (c) review of other publicly available

information concerning Pintec.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Pintec securities pursuant and/or traceable to the registration statement and prospectus

(collectively, the “Registration Statement”) issued in connection with the Company’s October

2018 initial public offering (“IPO” or the “Offering”). Plaintiff pursues claims against the

Defendants, under the Securities Act of 1933 (the “Securities Act”).

       2.       Pintec is purportedly a technology platform that enables financial services in China

by connecting business partners and financial partners with users.

       3.       On October 25, 2018, the Company filed its prospectus on Form 424B4 with the

SEC, which forms part of the Registration Statement. In the IPO, the Company sold more than 3.7

million American Depositary Shares (“ADSs” or “shares”) at a price of $11.88 per share. Each

ADS represents seven Class A common shares. The Company received proceeds of approximately

$41 million from the Offering, net of underwriting discounts and commissions. The proceeds from

the IPO were purportedly to be used for general corporate purposes, repayment of shareholder

loans, and acquiring a micro-lending license.


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       4.       On July 30, 2019, after the market closed, the Company filed its fiscal 2018 annual

report, in which it restated previously disclosed financial results. Among other things, the

Company reported net income of $315,000 for fiscal 2018, compared to its prior disclosure of

$1.068 million net income. Pintec also disclosed that there were material weakness in its internal

control over financial reporting related to cash advances outside the normal course of business to

Jimu Group, a related party, and to a non-routine loan financing transaction with a third-party

entity, Plutux Labs.

       5.       On this news, the Company’s share price fell $0.53, or more than 13%, over the

next several trading sessions, to close at $3.40 per share on August 5, 2019, on unusually heavy

trading volume.

       6.       On June 15, 2020, after the market closed, Pintec disclosed that it could not timely

file its fiscal 2019 annual report and that it anticipated reporting a significant change in results of

operations. Specifically, the Company disclosed that it “erroneously recorded revenue earned from

certain technical service fee on a net basis” for fiscal 2017 and 2018. Moreover, Pintec “announced

a net loss of RMB906.5 million in the full year of 2019 due to RMB890.7 million of provision for

credit loss in amounts due from a related party, Jimu Group, and RMB200 million of impairment

in prepayment for long-term investment.”

       7.       By the commencement of this action, Pintec stock was trading as low as $0.92 per

share, a nearly 92% decline from the $11.88 per share IPO price.

       8.       The Registration Statement was false and misleading and omitted to state material

adverse facts. Specifically, Defendants failed to disclose to investors: (1) that the Company

erroneously recorded revenue earned from certain technical service fee on a net basis, rather than

a gross basis; (2) that there were material weaknesses in Pintec’s internal control over financial




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reporting related to cash advances outside the normal course of business to Jimu Group, a related

party, and to a non-routine loan financing transaction with a third-party entity, Plutux Labs; (3)

that, as a result of the foregoing, the Company’s financial results for fiscal 2017 and 2018 had been

misstated; and (4) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects, were materially misleading and/or lacked a

reasonable basis.

       9.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.      The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

Securities Act (15 U.S.C. §§ 77k and 77o).

       11.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 22 of the Securities Act (15 U.S.C. § 77v).

       12.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b).

       13.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       14.      Plaintiff Allon Yaroni, as set forth in the accompanying certification, incorporated

by reference herein, purchased or otherwise acquired Pintec securities pursuant and/or traceable to

the Registration Statement issued in connection with the Company’s IPO, and suffered damages




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as a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       15.     Defendant Pintec is incorporated under the laws of the Cayman Islands with its

principal executive offices located in Beijing, China. Pintec’s ADSs trade on the NASDAQ under

the symbol “PT.”

       16.     Defendant Wei Wei (“Wei”) was, at all relevant times, the Chief Executive Officer

and a Director of the Company, and signed or authorized the signing of the Company’s

Registration Statement filed with the SEC.

       17.     Defendant Steven Yuan Ning Sim (“Sim”) was, at all relevant times, the Chief

Financial Officer of the Company, and signed or authorized the signing of the Company’s

Registration Statement filed with the SEC.

       18.     Defendant Jun Dong (“Dong”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       19.     Defendant Jing Zhou was a director of the Company and signed or authorized the

signing of the Company’s Registration Statement filed with the SEC.

       20.     Defendant Xiaomei Peng (“Peng”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       21.     Defendant Chao Zhou was a director of the Company and signed or authorized the

signing of the Company’s Registration Statement filed with the SEC.

       22.     Defendant Feng Hong (“Hong”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.

       23.     Defendant Jiacheng Liu (“Liu”) was a director of the Company and signed or

authorized the signing of the Company’s Registration Statement filed with the SEC.




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       24.     Defendants Wei, Sim, Dong, Jing Zhou, Peng, Chao Zhou, Hong, and Liu are

collectively referred to hereinafter as the “Individual Defendants.”

       25.     Defendant Goldman Sachs (Asia) L.L.C. (“Goldman Sachs”) served as an

underwriter for the Company’s IPO.

       26.     Defendant Deutsche Bank Securities Inc. (“Deutsche”) served as an underwriter for

the Company’s IPO.

       27.     Defendant Citigroup Global Markets Inc. (“Citigroup”) served as an underwriter

for the Company’s IPO.

       28.     Defendants Goldman Sachs, Deutsche, and Citigroup are collectively referred to

hereinafter as the “Underwriter Defendants.”

                               CLASS ACTION ALLEGATIONS

       29.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Pintec securities issued in connection with the Company’s IPO. Excluded

from the Class are Defendants, the officers and directors of the Company, at all relevant times,

members of their immediate families and their legal representatives, heirs, successors, or assigns,

and any entity in which Defendants have or had a controlling interest.

       30.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Pintec’s common shares actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds

or thousands of members in the proposed Class. Millions of Pintec stock were traded publicly

during the Class Period on the NASDAQ. Record owners and other members of the Class may be

identified from records maintained by Pintec or its transfer agent and may be notified of the


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pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        31.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        32.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        33.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Pintec; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        34.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.




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                               SUBSTANTIVE ALLEGATIONS

                                           Background

       35.     Pintec is purportedly a technology platform that enables financial services in China

by connecting business partners and financial partners with users.

                           The Company’s False and/or Misleading
                            Registration Statement and Prospectus

       36.     On October 22, 2018, the Company filed its final amendment to the Registration

Statement with the SEC on Form F-1/A, which forms part of the Registration Statement. The

Registration Statement was declared effective on October 24, 2018.

       37.     On October 25, 2018, the Company filed its prospectus on Form 424B4 with the

SEC, which forms part of the Registration Statement. In the IPO, the Company sold more than 3.7

million ADSs at a price of $11.88 per share. Each ADS represents seven Class A common shares.

The Company received proceeds of approximately $41 million from the Offering, net of

underwriting discounts and commissions. The proceeds from the IPO were purportedly to be used

for general corporate purposes, repayment of shareholder loans, and acquiring a micro-lending

license.

       38.     The Registration Statement was negligently prepared and, as a result, contained

untrue statements of material facts or omitted to state other facts necessary to make the statements

made not misleading, and was not prepared in accordance with the rules and regulations governing

its preparation.

       39.     Under applicable SEC rules and regulations, the Registration Statement was

required to disclose known trends, events or uncertainties that were having, and were reasonably

likely to have, an impact on the Company’s continuing operations.




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       40.     Pintec touted its “significant growth” since its first product was launched in June

2015. The Registration Statement highlighted the following historical results:

       We have experienced significant growth since we launched our first product in
       June 2015. In 2016 and 2017, our solutions facilitated over 8.5 million and
       21.3 million loan applications, respectively, and a total of RMB4.8 billion and
       RMB15.2 billion (US$2.4 billion) in loans, respectively. In the first quarter of 2017
       and 2018, we facilitated over 4.4 million and 4.8 million loan applications,
       respectively, and a total of RMB2.3 billion and RMB3.8 billion (US$0.6 billion) in
       loans, respectively. Our total revenues grew from RMB54.9 million in 2016 to
       RMB568.7 million (US$90.7 million) in 2017, and increased from
       RMB63.6 million in the first quarter of 2017 to RMB279.4 million
       (US$44.5 million) in the first quarter of 2018. Our net loss decreased by 57.7%
       from RMB200.5 million in 2016 to RMB84.9 million (US$13.5 million) in 2017,
       and changed from a net loss of RMB35.5 million in the first quarter of 2017 to a
       net income of RMB14.6 million (US$2.3 million) in the first quarter of 2018. Our
       adjusted net loss, which is a non-GAAP measure, decreased significantly from
       RMB174.8 million in 2016 to RMB53.8 million (US$8.5 million) in 2017, and
       changed from an adjusted net loss of RMB27.8 million in the first quarter of 2017
       to an adjusted net income of RMB23.5 million (US$3.8 million) in the first quarter
       of 2018.

       41.     Regarding revenue recognition with respect to technical service fees, the

Registration Statement stated:

        Revenue is recognized when each of the following criteria are met: (1) persuasive
       evidence of an arrangement exists; (2) services have been rendered; (3) pricing is
       fixed or determinable; and (4) collectability is reasonably assured.

       Technical service fees. For these transactions, we earn technical service fees by
       providing online credit assessment services and post-lending management services,
       such as cash processing services and collection services. Online credit assessment
       services are provided to potential borrowers to facilitate their matching with the
       investors on the financial partners' platforms or commercial banks and other
       financial institutions.

       We have determined that the arrangement to provide technical service to borrowers
       contains the following multiple elements: online credit assessment services and
       post-lending management services. We have determined that the borrowers and
       commercial banks and other financial institutions are our customers. We allocate
       the technical service fees among the deliverables at the inception of the
       arrangement on the basis of their relative selling prices according to the selling
       price hierarchy established by ASC 605-25-30. The hierarchy requires us to first
       use vendor-specific objective evidence of selling price, if it exists. If vendor-
       specific objective evidence of selling price does not exist, we are then required to



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       use third-party evidence of selling price. If neither vendor-specific objective
       evidence of selling price nor third-party evidence of selling price exists, we use
       management's best estimate of selling price for the deliverables. We use
       management's best estimate of selling price for the deliverables of the technical
       service fees.

       We can only charge the technical service fees to the borrowers upon the successful
       matching of the loans by a financial partner. The non-contingent portion of the
       selling price is collected upfront upon the loan matching, and the contingent portion
       of the selling price is collected over the term of the loans when the monthly
       repayment occurs. As the borrower are able to prepay the loan amounts before
       maturity date for a prepayment fee, the aggregate amount of the contingent portion
       of the fee that can ultimately collected by us for online credit assessment service
       and post-lending management service earned from a loan transaction is depend
       upon the actual term over which the borrowers made their loan repayments. In
       accordance with ASC 605-25-30-5, the amount allocated by us to the delivered
       credit assessment service is limited to that amount that is not contingent upon the
       delivery of additional units or meeting other specified performance conditions. The
       non-contingent portion of the credit assessment service fees are recognized revenue
       upon cash collection and execution of loan agreements between financial partners
       and borrowers. In situations where the upfront cash collected is less than the relative
       selling price of the credit assessment service, the revenue recognized is limited to
       the cash received upfront, the remaining contingent portion of the credit assessment
       fees together with the fees allocated to post-lending management services, are
       recognized each month when the service is provided over the period of the loan as
       the monthly repayment occurs.

       Prepayment fee charged by us is recognized when the prepayment occurs and the
       payments are made by the borrowers.

       We also charge fees for collection services related to defaulted payments. These
       fees are recognized when the contingent events occur and the payments are made
       by the borrowers as that is the point in time collectability is reasonably assured.

       42.     The Registration Statement described Pintec’s relationship with Jimu Group as

follows:

       Transactions with Jimu Group

       Previously, both we and Jimu Group carried out our businesses under our
       predecessor, Jimu Holdings Limited, formerly known as Pintec Holdings Limited.
       The variable interest entities and subsidiaries affiliated with Jimu Group provided
       us with funding and credit enhancement, and we paid service fees to Jimu Group
       for the peer-to-peer matching services for the funding debts. The table below sets
       forth our transactions with Jimu Group for the period indicated:




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As of December 31, 2016, we had RMB108.9 million due from Jimu Group and
RMB162.8 million (US$26.0 million) due to Jimu Group and as of December 31,
2017, RMB228.5 million due from Jimu Group and RMB385 million
(US$61.4 million) due to Jimu Group. As of March 31, 2018, we had RMB194.7
million (US$31.0 million) due from Jimu Group and RMB203.9 million (US$32.5
million) due to Jimu Group.

43.    Under “Risk Factors,” the Registration Statement stated, in relevant part:

If we fail to maintain an effective system of internal control over financial
reporting, we may be unable to accurately report our financial results or
prevent fraud.

     Prior to this offering, we were a private company with limited accounting
personnel and other resources with which to address our internal control and
procedures. Our management has not completed an assessment of the effectiveness
of our internal control over financial reporting and our independent registered
public accounting firm has not conducted an audit of our internal control over
financial reporting. In the course of auditing our consolidated financial statements
for the year ended December 31, 2017, we and our independent registered public
accounting firm identified one material weakness in our internal control over
financial reporting as of December 31, 2017, in accordance with the standards
established by the Public Company Accounting Oversight Board of the
United States.

     The material weakness that has been identified relates to our lack of
sufficient financial reporting and accounting personnel with appropriate
knowledge of U.S. GAAP and SEC reporting requirements to properly address
complex U.S. GAAP technical accounting issues and prepare and review
financial statements and related disclosures in accordance with U.S. GAAP and
reporting requirements set forth by the SEC. We have implemented and are
continuing to implement a number of measures to address the material weakness


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        that has been identified. For details, see “Management’s Discussion and Analysis
        of Financial Condition and Results of Operations—Internal Control Over Financial
        Reporting.” However, we cannot assure you that we will be able to continue
        implementing these measures in the future, or that we will not identify additional
        material weaknesses in the future.

                                                ***

        In addition, after we become a public company, our reporting obligations may place
        a significant strain on our management, operational and financial resources and
        systems for the foreseeable future. We may be unable to timely complete our
        evaluation testing and any required remediation.

        44.     Pintec claimed to implement certain remedial measures to address the material

weakness. Under “Internal Control Over Financial Reporting,” the Registration Statement further

stated, in relevant part:

        We are in the process of implementing a number of measures to address the material
        weakness that has been identified, including: (i) recruiting additional qualified
        accounting and reporting personnel with extensive U.S. GAAP accounting and
        SEC reporting experience to improve financial reporting, (ii) establishing an
        ongoing training program to provide sufficient and appropriate training to our
        accounting staff regarding U.S. GAAP and SEC rules and regulations; and
        (iii) enhancing our accounting manuals to provide our accounting and reporting
        personnel with more comprehensive guidelines on the policies and controls over
        financial reporting under U.S. GAAP and SEC reporting requirements, including
        accounting of non-recurring and complex transactions.

        45.     The Registration Statement was materially false and misleading and omitted to

state: (1) that the Company erroneously recorded revenue earned from certain technical service fee

on a net basis, rather than a gross basis; (2) that there were material weaknesses in Pintec’s internal

control over financial reporting related to cash advances outside the normal course of business to

Jimu Group, a related party, and to a non-routine loan financing transaction with a third-party

entity, Plutux Labs; (3) that, as a result of the foregoing, the Company’s financial results for fiscal

2017 and 2018 had been misstated; and (4) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects, were materially misleading

and/or lacked a reasonable basis.



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                                     The Subsequent Disclosures

        46.       On March 20, 2019, Pintec announced its fourth quarter 2018 financial results in a

press release that stated, in relevant part:

        Full Year 2018 Financial Highlights

                 Total revenues grew by 85.1% to RMB1,052.6 million (US$153.1 million)
                  from RMB568.7 million in the full year of 2017.

                 Gross profit increased by 153.4% to RMB497.5 million (US$72.4 million).
                  Gross margin expanded to 47.3% from 34.5% in the full year of 2017.

                 Net income was RMB7.4 million (US$1.1 million) compared to a net loss
                  of RMB84.9 million in the full year of 2017.

                 Adjusted net income[] was RMB138.6 million (US$20.2 million) compared
                  to an adjusted net loss of RMB53.8 million in the full year of 2017.

        47.       On April 30, 2019, the Company filed a Notification of Late Filing on Form 12b-

25 with the SEC stating that it could not timely file its 2018 annual report “without unreasonable

effort or expense.” The annual report would be the Company’s first filing on Form 20-F with the

SEC since it went public.

        48.       On July 30, 2019, after the market closed, the Company filed its 20-F for the period

ended December 30, 2018. Therein, Pintec restated certain results compared to its March 20, 2019

disclosure. Among other things, the Company reported net income of $315,000 for fiscal 2018,

compared to its prior disclosure of $1.068 million net income. It further disclosed that there were

additional material weakness in the Company’s internal control over financial reporting, stating:

        A second material weakness that has been identified relates to our lack of effective
        controls over the provision of cash advances outside the normal course of business
        to Jimu Group, our related party. We and Jimu Group have a high degree of overlap
        in shareholding, and we and Jimu Group’s holding company share three board
        members. Jimu Group is also our largest single funding partner. For description of
        the cash advances provided to Jimu Group, see “Item 7. Major Shareholders and
        Related Party Transactions—Transactions and Agreements with Jimu Group—
        Cash Advances and Loan Agreements.” This material weakness includes the lack
        of effective controls in the following areas:



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      setting of authorization levels for review and preapproval of the business
       rationale, nature, extent and terms of cash advances to Jimu Group by our
       board of directors;

      agreement on and documentation of the terms of the cash advances
       including repayment terms and interest rate prior to the provision or
       extension of the advances;

      formal procedures to ensure authorization and approval of such advances
       by our audit committee prior to the provision or extension of the advances,
       as required under the charter of our audit committee;

      review for appropriate authorization of the transaction in accordance with
       our authorization limits (including board of director and audit committee
       approvals) and whether amounts including cumulative amounts of
       transactions are within the limits approved by the board and audit committee
       prior to provision or extension of the advances; and

      periodic assessment of the recoverability of the advances to determine if an
       allowance for doubtful accounts is necessary.

This material weakness resulted in significant outstanding balances due from Jimu
Group at the year end with unclear terms, which presented significant challenges
for the Company in assessing the recoverability of the outstanding balance for
period end financial reporting purposes.

                                 *       *       *

A third material weakness that has been identified relates to our lack of effective
controls over a non-routine loan financing transaction with a third-party entity,
Plutux Labs. We made an unsecured loan of US$20 million at 10.5% annual interest
to Plutux Labs in 2018. In May 2019, Plutux Labs repaid all of the principal and
part of the interest due. This material weakness includes the lack of effective
controls in the following areas:

      exercising due diligence on the third party entity prior to making the loan to
       determine and document the existence of, the ownership of, and the business
       nature of the entity;

      assessing the credit worthiness of the third party entity before entering into
       the loan arrangement; and

      periodically assessing the recoverability of the outstanding loan to
       determine if an allowance for doubtful accounts is necessary.




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       49.       The same day, the Company issued a press release entitled “Pintec Files Its Annual

Report on Form 20-F With Adjustments to Its Financial Results.” Therein, Pintec stated, in

relevant part:

       In May 2019, the Company waived the interests accrued on a loan to a third party
       after the third party repaid the outstanding loan principal in full. As a result, the
       following items in the Company’s condensed consolidated statements of operations
       and comprehensive (loss)/income statement for the fiscal year ended December 31,
       2018 were adjusted:




       Due to the Company’s reclassification of certain items according to their nature,
       the following items in the Company’s condensed consolidated balance sheet for the
       fiscal year ended December 31, 2018 were adjusted:




       50.       On this news, the Company’s share price fell $0.53, or more than 13%, over the

next several trading sessions, to close at $3.40 per share on August 5, 2019, on unusually heavy

trading volume.

       51.       Then, on June 15, 2020, after the market closed, Pintec disclosed that it could not

timely file its Form 20-F for the period ended December 31, 2019 and that it anticipated reporting

a significant change in results of operations. Specifically, the Company disclosed:




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       Subsequent to the issuance of the Company’s consolidated financial statements for
       the years ended December 31, 2017 and 2018, the Company revisited its
       consolidated financial statements and identified certain material misstatements. As
       a result, the Company has restated its previously issued consolidated financial
       statements for the years ended December 31, 2017 and 2018.

       The following misstatements in the Company’s annual financial statements were
       identified and corrected as part of the restatement:

       (a) Gross vs net recognition on revenue

       In the years ended December 31, 2017 and 2018, the Company erroneously
       recorded revenue earned from certain technical service fee on a net basis, rather
       than on a gross basis as would have been correct since the Company was acting as
       principal. The correction of this error resulted in an increase in both revenues and
       cost of revenues of RMB194 million for the year ended December 31, 2017 and
       RMB530 million for the year ended December 31, 2018.

       (b) Reclassification of prior year presentation

       Certain fiscal year 2018 amounts have been reclassified for consistency with the
       current period presentation. These reclassifications had no effect on the reported
       results of operations. In fiscal year 2019, the Company concluded that: (a) it was
       appropriate to classify financial guarantee assets based on their short term and long
       term nature from prepayments and other current assets; (b) it was appropriate to
       present the release from guarantee obligation under the line item for technical
       service fee revenues; and (c) it was appropriate to present accrued interest
       receivable as part of financing receivable, and present accrued interest payable as
       part of funding debts. These changes in classification do not materially affect
       previously reported consolidated statements of cash flows and had no effect on the
       previously reported consolidated statements of operations and comprehensive
       income for year 2018.



       The Company announced a net loss of RMB906.5 million in the full year of 2019
       due to RMB890.7 million of provision for credit loss in amounts due from a related
       party, Jimu Group, and RMB200 million of impairment in prepayment for long-
       term investment.

       52.    By the commencement of this action, Pintec stock was trading as low as $0.92 per

share, a nearly 92% decline from the $11.88 per share IPO price.




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                                        FIRST CLAIM
                          Violation of Section 11 of the Securities Act
                                   (Against All Defendants)

       53.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

       54.     This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. § 77k,

on behalf of the Class, against the Defendants.

       55.     The Registration Statement for the IPO was inaccurate and misleading, contained

untrue statements of material facts, omitted to state other facts necessary to make the statements

made not misleading, and omitted to state material facts required to be stated therein.

       56.     Pintec is the registrant for the IPO. The Defendants named herein were responsible

for the contents and dissemination of the Registration Statement.

       57.     As issuer of the shares, Pintec is strictly liable to Plaintiff and the Class for the

misstatements and omissions.

       58.     None of the Defendants named herein made a reasonable investigation or possessed

reasonable grounds for the belief that the statements contained in the Registration Statement was

true and without omissions of any material facts and were not misleading.

       59.     By reasons of the conduct herein alleged, each Defendant violated, and/or

controlled a person who violated Section 11 of the Securities Act.

       60.     Plaintiff acquired Pintec shares pursuant and/or traceable to the Registration

Statement for the IPO.

       61.     Plaintiff and the Class have sustained damages. The value of Pintec shares has

declined substantially subsequent to and due to the Defendants’ violations.




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                                         SECOND CLAIM
                            Violation of Section 15 of the Securities Act
                               (Against the Individual Defendants)

       62.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

       63.     This count is asserted against the Individual Defendants and is based upon Section

15 of the Securities Act.

       64.     The Individual Defendants, by virtue of their offices, directorship, and specific acts

were, at the time of the wrongs alleged herein and as set forth herein, controlling persons of Pintec

within the meaning of Section 15 of the Securities Act. The Individual Defendants had the power

and influence and exercised the same to cause Pintec to engage in the acts described herein.

       65.     The Individual Defendants’ positions made them privy to and provided them with

actual knowledge of the material facts concealed from Plaintiff and the Class.

       66.     By virtue of the conduct alleged herein, the Individual Defendants are liable for the

aforesaid wrongful conduct and are liable to Plaintiff and the Class for damages suffered.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:
       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.




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                                JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.

Dated: September 29, 2020                   By: s/ Gregory B. Linkh
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